Case 2:22-cv-05209-GJP Document 27-4 Filed 03/30/23 Page 1 of 3




           EXHIBIT 3
        Case 2:22-cv-05209-GJP Document 27-4 Filed 03/30/23 Page 2 of 3



An official website of the United States government




                                                                                                                                        Search:     Agenda       Reg Review




Please note that the OMB number and expiration date may not have been determined when this Information Collection Request and associated Information
Collection forms were submitted to OMB. The approved OMB number and expiration date may be found by clicking on the Notice of Action link below.
                                                                 View ICR - OIRA Conclusion

  OMB Control No: 1117-0056                                                                   ICR Reference No: 202012-1117-001
  Status: Historical Inactive                                                                 Previous ICR Reference No:
  Agency/Subagency: DOJ/DEA                                                                   Agency Tracking No:
  Title: Reporting and Recordkeeping Requirements Related to Suspicious Orders
  Type of Information Collection: New collection (Request for a new OMB Control
                                                                                              Common Form ICR: No
  Number)
  Type of Review Request: Regular
  OIRA Conclusion Action: Comment filed on proposed rule                                      Conclusion Date: 03/29/2021
  Retrieve Notice of Action (NOA)                                                             Date Received in OIRA: 12/08/2020
  Terms of Clearance: OMB files this comment in accordance with 5 CFR 1320.11( c ). This OMB action is not an approval to conduct or sponsor an information collectio
  under the Paperwork Reduction Act of 1995. This action has no effect on any current approvals. If OMB has assigned this ICR a new OMB Control Number, the OMB
  Control Number will not appear in the active inventory. For future submissions of this information collection, reference the OMB Control Number provided. OMB files thi
  comment in accordance with 5 CFR 1320.11( c ). This OMB action is not an approval to conduct or sponsor an information collection under the Paperwork Reduction A
  of 1995. This action has no effect on any current approvals. If OMB has assigned this ICR a new OMB Control Number, the OMB Control Number will not appear in the
  active inventory. For future submissions of this information collection, reference the OMB Control Number provided. In accordance with 5 CFR 1320, OMB is withholdin
  approval of this information collection. Prior to the publication of the final rule, the agency must provide to OMB a summary of all comments pertaining to the information
  collection burden imposed by this rule and any changes made in response to these comments.
                                  Inventory as of this
                                                                   Requested               Previously Approved
                                        Action
  Expiration Date                                            36 Months From Approved
  Responses                                              0                            0                            0
  Time Burden (Hours)                                    0                            0                            0
  Cost Burden (Dollars)                                  0                            0                            0

  Abstract: This new information collection is related to the reporting of orders received under suspicious circumstances (ORUSCs). DEA implements and enforces titles
  and III of the Comprehensive Drug Abuse Prevention and Control Act of 1970, Pub. L. No. 91-513, 84 Stat. 1242 (1970), as amended (collectively, the CSA). 21 U.S.C.
  801–971. The CSA requires registrants to design and operate a system to disclose to the registrant suspicious orders of controlled substances, i.e., orders of unusual
  size, orders deviating from a normal pattern, and orders of unusual frequency. Registrants are also required to “inform the Field Division Office of the Administration in h
  area of suspicious orders when discovered by the registrant.” The collection would include two distinct components: the reporting of suspicious orders, and
  recordkeeping related to suspicious orders and ORUSCs. The collection would be applicable to registrants that distribute controlled substances, including manufacturer
  distributors, importers, and pharmacies (and other practitioners in certain cases). Registrants would be required to file suspicious order reports through DEA's centralize
  database. Each report must contain: the DEA registration number of the registrant placing the order for controlled substances; the date the order was received; the DEA
  registration number of the registrant making the report; the National Drug Code number, unit, dosage strength, and quantity of the controlled substances ordered; the
  order form number for schedule I and schedule II controlled substances; the unique transaction identification number for the suspicious order; and what information and
  circumstances rendered the order actually suspicious.

  Authorizing Statute(s): US Code: 21 USC 801-971 Name of Law: The Controlled Substances Act
   PL: Pub.L. 115 - 271 3291, 3292 Name of Law: The Preventing Drug Diversion Act of 2018

  Citations for New Statutory Requirements: PL: Pub.L. 115 - 271 3291-3292 Name of Law: The Preventing Drug Diversion Act of 2018

  Associated Rulemaking Information
  RIN:                         Stage of Rulemaking:                                       Federal Register Citation:                Date:
  1117-AB47                    Proposed rulemaking                                        85 FR 69282                               11/02/2020

  Federal Register Notices & Comments
  Did the Agency receive public comments on this ICR? No

  Number of Information Collection (IC) in this ICR: 1
                         IC Title                               Form No.                    Form Name
  Reporting and Recordkeeping Requirements Related to          Not            Suspicious Orders of Controlled
  Suspicious Orders                                            Applicable     Substances Database


  Burden increases because of Program Change due to Agency Discretion: Yes
  Burden Increase Due to: Changing Regulations
             Case 2:22-cv-05209-GJP Document 27-4 Filed 03/30/23 Page 3 of 3



       Burden decreases because of Program Change due to Agency Discretion: No
       Burden Reduction Due to:
       Short Statement: This is a new information collection. Therefore there is not a previous burden to compare it to.

       Annual Cost to Federal Government:
       Does this IC contain surveys, censuses, or employ statistical methods? No
       Does this ICR request any personally identifiable information (see OMB Circular No. A-130 for an explanation of this term)? Please consult with your agency'
       privacy program when making this determination. Yes
       Does this ICR include a form that requires a Privacy Act Statement (see 5 U.S.C. §552a(e)(3))? Please consult with your agency's privacy program when
       making this determination. Yes
       Is this ICR related to the Affordable Care Act [Pub. L. 111-148 & 111-152]? No
                        Display additional information by clicking on the following:   All     Brief and OIRA conclusion
       Is this ICR related to the Dodd-Frank Wall Street Reform and Consumer Protection Act, [Pub. L. 111-203]? No
                             Abstract/Justification   Legal Statutes     Rulemaking   FR Notices/Comments       IC List    Burden    Misc.
       Is this ICR related to the American Recovery and Reinvestment Act of 2009 (ARRA)? No
       Is this ICR related toCommon
                                       Form Info.    Certification
                              the Pandemic     Response?  No
                                   View Information Collection (IC) List                   View Supporting Statement and Other Documents
       Agency Contact: Danielle Staley 571 203-8530 danielle.m.staley@usdoj.gov

       Common Form ICR: No

       On behalf of this Federal agency, I certify that the collection of information encompassed by this request complies with 5 CFR 1320.9 and the related provisions of 5 CF
       1320.8(b)(3).
       The following is a summary of the topics, regarding the proposed collection of information, that the certification covers:
                            (a) It is necessary for the proper performance of agency functions;

                            (b) It avoids unnecessary duplication;

                            (c) It reduces burden on small entities;
                            (d) It uses plain, coherent, and unambiguous language that is understandable to respondents;

                            (e) Its implementation will be consistent and compatible with current reporting and recordkeeping practices;

                            (f) It indicates the retention periods for recordkeeping requirements;

                            (g) It informs respondents of the information called for under 5 CFR 1320.8 (b)(3) about:
                                     (i) Why the information is being collected;
                                     (ii) Use of information;
                                     (iii) Burden estimate;
                                     (iv) Nature of response (voluntary, required for a benefit, or mandatory);
                                     (v) Nature and extent of confidentiality; and
                                     (vi) Need to display currently valid OMB control number;
                            (h) It was developed by an office that has planned and allocated resources for the efficient and effective management and use of the information to
                            be collected.
                            (i) It uses effective and efficient statistical survey methodology (if applicable); and
                            (j) It makes appropriate use of information technology.
       If you are unable to certify compliance with any of these provisions, identify the item by leaving the box unchecked and explain the reason in the Supporting Statement.
       Certification Date: 12/08/2020




Reginfo.gov
An official website of the U.S. General Services Administration        and the Office of Management and Budget


About Us            About GSA             About OIRA            Related               Disclosure            Accessibility      FOIA              Privacy Policy       Contact
                                                                Resources


Looking for U.S. government information and services?
 Visit USA.gov
